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                                   IN THE UNITED STATES DISTRICT COURT
                                  FOR THE WESTERN DISTRICT OF WISCONSIN



Amy Childers, et al.
                              Plaintiff(s),

    v.                                                                   Case No. 20 CV 107


Menards, Inc. et al.
                            Defendant(s).


                                         MOTION TO APPEAR PRO HAC VICE


         Sabita J. Soneji                           of   Tycko and Zavareei LLP
                       Attorney                                                   Firm

respectfully requests that this Court grant admission pro hac vice in the above matter. I certify that I am an
attorney in good standing licensed to practice in California
                                                                Jurisdiction



                                Dated this 17 day of            April, 2020




                              s/ Sabita J. Soneji


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